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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J

on APRIL 20, 2010

JUDGE BARBIER
This Document Relates to:

Tien Le, et al. v.
BP PLC, etal
EDLA No. 10-3189

MAG. JUDGE SHUSHAN

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ORDER ON PLAINTIFF HET TRAN’S MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT 1S HEREBY ORDERED that Plaintiff HET TRAN’S Motion for Leave of Court
to Voluntarily Dismiss Claims Without Prejudice is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiff HET TRAN only, as
listed on Exhibit “A” attached to said Motion are hereby dismissed without prejudice.
This Order in no way affects the claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
